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                          EXHIBIT E
              D.F. et aI., v. Sikorsky Aircraft Corporation, et ai.
                U.S.D.C., Case No.: 13:cv-00331-GPC-KSC
              (Exhibits to Declaration of Christopher S. Hickey
               In Support of Motion for Summary Judgment)
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    1                  UNITED STATES DISTRICT COURT
    2                 SOUTHERN DISTRICT OF CALIFORNIA
    3

    4     D.F., a minor, by and through his
    5     Guardian Ad Litem, TASHINA AMADOR,
          individually and as Successor in
    6     interest to Alexis Fontalvo,
    7     deceased, and T.L., a minor, by
    8     and through her Guardian Ad Litem,
          TASHINA AMADOR
    9                   Plaintiffs
   10     vs.                                             Case No. 13-cv-00331
   11     SIKORSKY AIRCRAFT
          CORPORATION, et al.
   12                   Defendants
   13     _______________________________ 1
   14
   15                   The Videotaped Deposition of LESLIE LEIGH
   16     was held on Wednesday, February 15, 2017, commencing at
   17     9:09 a.m., at Naval Air Station Patuxent River, 47085
   18     Buse Road, Building 462, Patuxent River, Maryland,
   19     20670, before Robert A. Shocket, Notary Public.
   20
   21
   22    REPORTED BY:
   23     Robert A. Shocket
   24     Job No. 2537265
   25     Pages 1 - 147

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        I      Q    Okay. Okay. And if you look at Bates 802.                 I that Sikorsky is going to provide the drawings or the
        2     A     Okay.                                                     2 schematics for the wiring that's in the CH-53E
        3      Q    It says, "2.1 .19 Ali ghting Gear Support."               3 helicopter?
        4 And it says, "The foll owing engineering effort is                  4     A     Correct.
        5 required to strengthen the sponson to accept 69,750                 5     Q     Okay. Okay. And below that -- and do you
        6 pounds landing loads. " So, looking at this, this page              6 see Subparagraph 2?
        7 is Sikorsky saying from the prototype to production                 7     A     Yes.
        8 thi s is the change we're making to the landing gear?               8     Q     It says, "All electrical wiring harnesses
        9     A     Correct.                                                  9 wi ll be replaced with K apton type wire in accordance
       10     Q     Okay. And are, and so everyth ing that' s                10 with" MIL spec or MIL -- I don't know what "W " means.
       II listed th ere is the totali ty of the changes from the             II Anyways, MIL-W-8 13 8 1." Are you famili ar with Kapton
       12 prototype to the production?                                       12 wiring?
       13     A     As is beli eved on that time, yes.                       13     A     Briefly.
       14     Q     Okay. A ll right. Right, because even                    14     Q     Okay. Not your -- have you ever dealt with
       15 after this document things could have changed?                     15 Kapton wiring?
       16     A     Correct.                                                 16     A     No.
       17     Q     And other changes could be made, ri ght?                 17     Q     Have you ever had any problems with your
       18     A     Correct.                                                 18 systems with regards to Kapton wiring?
       19     Q     Okay. Okay. And, if you tum to 8 -- so                   19     A     N o.
       20 Bates 869. Okay. And this is, this page has Paragraph              20     Q     Okay. All ri ght. Do you know what thi s --
       21 2.1.46, "Electrical Wiring." And right below                       2 1 it's no a standard -- I don't know what W stands for.
       22 "Electrical Wiring" it says, "Provide production wiring            22 Do you know what W stands for in thi s?
       23 drawings in lieu of photo books." Do you have an                   23     A     No.
       24 understanding of what that sentence means?                         24     Q     Okay. Have you ever seen MIL-W-813 8 1?
       25     A     Yes and no.                                              25     A     No.
                                                                   Page 98                                                            Page 100

        I     Q     Okay. Let's start with the first part of                  I           MR. HICKEY: Okay. That's that for, that's
        2 it. "Provide production wiring drawings," what does                 2 it, w ait a minute, hold on. Let me just double-check.
        3 that mean?                                                          3 Okay. That's it.
        4     A     They would provide drawings of the layout                 4           COURT REPORTER: This will be 12.
        5 of the wiring.                                                      5           MR. HICKEY: Twelve.
        6     Q     Okay. Which means NA VAIR would get a copy                6           (Leslie Exhibit 12 was marked for purposes
        7 of all of the wiring schematics?                                    7 of identification.)
        8     A     Correct.                                                  8           MR. HICKEY: Everyone ready? Leslie?
        9     Q     Right, and they would be reviewing those                  9           THE WITNESS : Yes .
       10 schematics?                                                        10           BY MR. HICKEY :
       II     A     Correct.                                                 II      Q Okay . Have you ever seen a document, have
       12     Q     If they wanted to make any changes to those              12 you ever seen this specific document before?
       13 schematics they would then write back to Sikorsky and              13      A No.
       14 say these are the changes we want made?                            14      Q Have you ever seen a document like this
       15     A     Correct.                                                 15 before?
       16     Q     Okay. And NA VAIR has electrical engineers               16      A No .
       17 on its staff?                                                      17      Q Okay. Can you tell who this document is
       18     A     Yes.                                                     18 from and to?
       19     Q     Okay. They know how to review schematics,                19      A It is from the Commander of Naval Air
       20 electrical schematics?                                             20 Systems Command to Naval Plant Representative.
       21     A     Yes.                                                     21      Q And that N aval Plant Representative is
       22     Q     Okay. Now, the second part of that is "in                22 located in Stratford, Connecticut?
       23 lieu of photo books." What does that mean if you know?             23      A Correct.
       24     A     I don't know what a photobook is .                       24      Q Okay. Which is where Sikorsky is located?
       25     Q     Okay. But in any case this is indicating                 25      A Correct.
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        I for one Sikorsky engineer?                                          I SIKOl6496 through 499. Let's start with Exhibit 13.
        2     A       Correct.                                                2 Have you ever seen a document like this before?
        3     Q Okay. Let's see. Okay. Okay. That's it                        3       A    No.
        4 for that document. Okay. Do you know how many                       4       Q    Okay. Just looking and reading it, can you
        5 electrical engineers are at NA V AIR right now?                     5 tell what it is?
        6     A       I have no idea.                                         6       A    Looks like a deficiency report.
        7     Q       Lots?                                                   7       Q    Okay. And in your experience with, at
        8     A       Yes.                                                    8 working at NA V AIR do you ever put together deficiency
        9     Q       Over a hundred ?                                        9 reports?
       10     A       I -- I couldn't sunnise.                               10       A    No.
       II     Q       But, okay. But a significant number?                   II       Q    And do you know what a deficiency report
       12     A       Correct.                                               12 is?
       13    Q Okay. All right. And do you happen to                         13       A    It is when you inspect the parts and if
       14 know how many electrical engineers were present at                 14 they are found deficient you write a report about it.
       IS NAV AIR in the 1970s?                                              IS       Q    Meaning the contractor delivers a part and
       16     A       No.                                                    16 NA V AIR reviews that part and if it finds that it
       17     Q       Okay. A rough estimate?                                17 doesn't meet the specifications or isn't what the
       18     A       No.                                                    18 government wanted, for whatever reason it issues a
       19     Q       Okay.                                                  19 discrepancy report?
       20     A       I wasn't even born.                                    20       A    Correct.
       21            MR. HICKEY: Okay. We'll mark all of the                 21       Q    Correct, okay. And in this specific
       22 rest of these together. Okay. So that's 12?                        22 deficiency report is -- where is it -- it's referencing
       23            COURT REPORTER: No. The next one is 13.                 23 in Paragraph I, "Eighteen minor electrical installation
       24            MR. HICKEY: Oh, it is? Oh, that was 12.                 24 deficiencies." Correct?
       25 Okay. Sorry. All right. Next one, 13 -- and there's                25       A    Correct.
                                                                  Page 106                                                                Page 108

        I only one copy of this as well. So you guys want to                  1       Q    So, and up on the top left-hand corner it
        2 share that for now? Just give it back to me. We'll                  2 says, "Model YCH-53E"?
        3 just do all of these together. So that was 13 , Exhibit             3       A    Correct.
        4 14 and 15. They're all the same, the discrepancy                    4       Q    So, and then it has the Bureau N umber
        5 reports.                                                            5 159122. And if we look back on our chart of the
        6            MS . SAVITT: Is that Exhibit 14?                         6 delivery log, that would match up with the second
        7            MR. HICKEY: Yeah. So 14, IS , yeah.                      7 prototype aircraft that was delivered, correct?
        8            (Leigh Exhibits 13 , 14 and IS were marked               8       A    Correct.
        9 for purposes of identification.)                                    9       Q    Okay. So is your understanding that NA V AIR
       10            MR. STAHL? Which exhibit is this?                       10 has that prototype aircraft and is now reviewing it for
       II            MR. HICKEY : Oh.                                        II any deficiencies?
       12            MR. STAHL: Is that IS?                                  12       A    They could have reviewed it at Sikorsky.
       13            THE WITNESS: Fifteen.                                   13       Q    Oh, yeah, okay. So wherever the helicopter
       14            MR. HICKEY: Yeah. Fourteen and IS.                      14 is, NA V AIR personnel are reviewing that helicopter,
       IS            MR. STAHL: So--                                         IS inspecting that helicopter?
       16            MR. HICKEY: Fourteen.                                   16       A    Inspecting.
       17            MR. STAHL: Fourteen. Okay. Thank you.                   17       Q    And they're looking for deficiencies?
       18            MR. HICKEY: Everyone ready?                             18       A    Correct.
       19            THE WITNESS: Yes.                                       19       Q    Okay. And this is a deficiency related to
       20            BY MR. HICKEY:                                          20 18 minor electrical installation deficiencies, correct?
       21     Q       Okay. Okay. So Leslie, you've been handed              21       A    Correct.
       22 what have been marked -- actually, where is 13 , can I             22       Q    Okay. And would the government do with
       23 have 13 back, are you done? -- documents that have been            23 this document? Or I -- strike that. Has the
       24 marked 13,14 and IS. Number 13 is SIK020064 through                24 government generated this document?
       25 67. Fourteen is SIK020043 through 46. Number IS is                 25       A    Yes.
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       CONDITIONALLY UNDER SEAL




                          EXHIBIT F
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